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                                                                            CLERK, U.S. DISTRICT COURT

                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
                                                                                 1~ 2 z; 2022
                            SOUTHERN DIVISION                             CENTRAL DISTRICT OF CALIFORNIA
                                                                          BY D~                  DEPUTY

   Robert A. Heghmann,
              Intervening Plaintiff,

   vs.                                            Case No. 8:22-cv-099-DOC-DFM

 k ~amela Harris,
     Vice President ofthe United States,
              Defendant

   and                                            Motion to Intervene

   JOHN C. EASTMAN
            Plaintiff,                            Date: March 21, 2022

   vs.

   BENNIE G.THOMPSON,et al.,
            Defendants.

            INTERVENING PLAINTIFF'S MOTION TO INTERVENE

         Since Vice President Biden took the Oath of Office as President ofthe United

   States, the Intervening Plaintiff(hereinafter "Plaintiff') has been preparing to file an

   action in federal court against Vice President Harris demanding that she inform the

   Speaker ofthe House and Members ofthe Senate that the Electoral College election

   held on December 14, 2020 was unconstitutional and that the House and Senate

   would have to determine the winners ofthe Presidential Election of2020. However,

   after reading the Congressional Defendants' Brief in Opposition to Plaintiff's

  Privilege Assertions dated March 8, 2022 in this ourt, the Plaintiff reconsidered and

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   decided in the interest ofjustice and conserving limited judicial capital to present his

   arguments to this Court in this proceeding. Frankly, the Plaintiff would sooner file

   an original action in federal court in Texas, however, as an officer of the court he

   believes in fairness to this Court that his arguments should be offered here in the first

   instance. If this court has no interest, please move sua sponte A.S.A.P. to deny the

   motion so that the Plaintiff can file his action in Texas expeditiously.

         While this proceeding remained a dispute over privileged documents, the

   Plaintiff had no interest in this action. However, in the March 8th Brief the

   Defendants radically expanded the scope of this proceeding. It is clear that the

   Defendants intend to use this action to pursue a criminal proceeding against

   President Trump in an effort to make sure he cannot run for office in 2024. For

   example, the Brief raises the following arguments:

               Obstruction of an Official Proceeding
        The evidence detailed above provides, at minimum, agood-faith basis for
        concluding that President Trump has violated section 18 U.S.C. § 1512(c)(2).
        The elements of the offense under 1512(c)(2) are: (1) the defendant
        obstructed, influenced or impeded, or attempted to obstruct, influence or
        impede, (2) an official proceeding of the United States, and (3) that the
        defendant did so corruptly. Id.(emphasis added). To date, six judges from the
        United States District Court for the District of Columbia have addressed the
        applicability of section 1512(c) to defendants criminally charged in
        connection with the January 6cn attack on the Capitol. Each has concluded that
        Congress's proceeding to count the electoral votes on January 6th was an
        "official proceeding" for purposes of this section, and each has refused to
        dismiss charges against defendants under that section.




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               Conspiracy to Defraud the United States
         The Select Committee also has agood-faith basis for concluding that the
         President and members of his Campaign engaged in a criminal conspiracy to
         defraud the United States in violation of 18 U.S.C. § 371.


         The expansion if these proceedings brings the Defendants and the Plaintiff in

   direct opposition and whether in this proceeding or in Texas the Plaintiffis confident

   he will prevail. He would sooner do this here to save this Court time and effort.

         The fatal flaw in the Defendants' legal argument is set forth in the following

   section of their Brief.

                When the Electoral College met on December 14, 2020, and confirmed
         the certified results ofthe election, the results ofthe election should have been
         final. ...The text of the Twelfth Amendment to the Constitution clearly
         describes Congress's obligation to count certified electoral votes: "The
         President of the Senate shall, in the presence of the Senate and House of
         Representatives, open all the certificates and the votes shall then be counted;
         the person having the greatest Number of votes for President, shall be the
         President." U.S. Const., amend. XII. Nothing in the Constitution permits
         Congress or the presiding officer (the President of the Senate, Michael R.
         Pence) to refuse to count certified electoral votes in this context (emphasis
         added)


         Based solely upon the text ofthe Constitution, this argument seems to have an

  appeal. However,there are eight modalities of constitutional interpretation of which

  the textual is only one. Two ofthe other modalities are historical and structural. It is

  when the text is read within its structure against the historical back ground for the

  text that the argument put forward by the Defendants collapses.




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         On November 30, 2020. I submitted a legal opinion to President Trump

   through his personal counsel, Jay Sekulow, by hand delivery to the office of

   Attorney Sekulow at Regent University in Virginia Beach, VA. A copy of that

   opinion is attached as Exhibit 1. In that opinion I set forth the basis for my argument

   that the Electoral College election was unconstitutional.

              "Each State shall appoint, in such Manner as the Legislature thereof
         may direct, a Number of Electors, equal to the whole Number of Senators and
         Representatives to which the State may be entitled in the Congress."
        (emphasis added). Article II, Sec. 1 ofthe U.S. Constitution. This requirement
         was unchanged by the 12th Amendment. If States appointed a Number of
        Electors in excess ofthe whole number of Representatives to which the States
         may be entitled, the Electoral College is in violation of the Constitution and
        any election of the Electoral College is void in which case the election of the
        President goes to the House of Representatives under the 12'" Amendment.
         The election in the Electoral College was unconstitutional because the Blue

   States presented a Number of Electors in excess of the whole number of

   Representatives to which the States were entitled. I base this position on a 2004,

   Three Judge Panel decision in Horsey v. Bysiewicz, 3:99-cv-2250(D. Conn. 1999).

   a copy of which is attached to the Intervening Plaintiff's Complaint. The Panel in

   Horsey decided that ifthe delta between the number offoreign-born, non-citizens in

   the congressional district with the most foreign-born, non-citizens and the

   congressional district with the least number meets or exceeds l 0%,the congressional

   districts had to be re-apportioned in order to meet the One Person, One Vote

   mandate. While in 2004 in Connecticut that delta was 6%, since then due to
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   immigration both legal and illegal, many congressional districts in 8 to 10 Blue

   States violate what I call the Horsey Rule, including the states of Virginia and New

   York.


           The Defendants cannot dispute that by creating congressional districts in the

   Blue States containing over whelming numbers of foreign-born, non-citizens, they

   have congressional districts and Electoral College votes in excess of what is justified

   by their citizen population. In State ofNew York v. Trump, 1:20-cv-05770(S.D.N.Y.

   2020), the case in which the Blue States lead by New York successfully challenged

  President Trump's Memorandum on Excludin~~al Aliens from the

   Apportionment Base following the 2020 Census, the Blue States in their complaint

   admitted the impact unrestricted inclusion of Illegal Aliens in the apportionment

   base had upon the number of congressional districts the Blue States received.


         1 13. Defendants' decision and actions to exclude undocumented immigrants
  from the apportionment base harm Plaintiffs' sovereign, quasi-sovereign, economic,
  and proprietary interests because they will cause some Plaintiffs to lose
  congressional seats and decrease their share ofpresidential electors in the Electoral
  College; skew the division of electoral districts within Plaintiffs' jurisdictions by
  impairing state and local redistricting efforts that rely on the census count; reduce
  federal funds to Plaintiffs' jurisdictions by deterring immigrants from responding to
  the decennial census that is currently underway; and degrade the quality of census
  data that Plaintiffs rely on to perform critical governmental functions. Emphasis
  added)

        1 14. First, excluding undocumented immigrants from the apportionment
  count will likely cause several States to lose one or more Representatives in
  Congress, directly harming those Plaintiff States, as well as those Plaintiff counties
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   and cities within affected States, by diluting their political power and undermining
   their interest in fair congressional representation.

          1 15. For example, large numbers of undocumented immigrants reside in
   California, Texas, New York, New Jersey, and Illinois. Defendants' decision to
   exclude undocumented immigrants from the apportionment count is likely to directly
   reduce representation for those jurisdictions in Congress, injuring the
   representational interests of Plaintiffs the State of New York, State of New Jersey,
   State of Illinois, City of Chicago, City of New York, City and County of San
   Francisco, Cameron County, El Paso County, Hidalgo County, and Monterey
   County. Other Plaintiffs may also suffer direct representational harms if
   undocumented individuals are excluded from the apportionment count. Complaint,
   New York v. Trump, supra. Dkt. 1

         While not as great an impact as excluding illegal aliens completely,

   compliance with the Horsey Rule would have a significant impact upon the number

   of congressional districts in the Blue States. The reason for this is that in order to

   meet the Horsey Rule, urban congressional districts would have to be expanded

   geographically into suburban and perhaps rural areas in order to reduce the

   percentage of foreign-born, non-citizens. With geographical expansion of urban

   districts, the Blue States would not be able to create as many congressional districts

   within state borders as currently exist. The reduction of state congressional districts

   would be reflected in the reduction of Electors in the Electoral College. That is why

  an argument could validly be made that the Electoral College as currently comprised

  violates the Constitution as the Blue States would have more Electors than they are

  entitled to.


         The Defendants in their Brief point out:
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                President Trump repeatedly attempted to instruct, direct, or pressure the
         Vice President, in his capacity as President as ofthe Senate, to refuse to count
         the votes from six States. For example, on January 4, 2021, President Trump
         ... met with Vice President Pence and his staff. In that meeting, according to
         one participant, Plaintifftried to persuade the Vice President to take action on
         the electors.
                The pressure continued on January 6. At 1:00 a.m., President Trump
         tweeted,"If Vice President @Mike_Pence comes through for us, we will win
         the Presidency ...Mike can send it back!" At 8:17 a.m.,the President tweeted,
         "States want to correct their votes ...All Mike Pence has to do is send them
         back to the States, AND WE WIN. Do it Mike, this is a time for extreme
         courage!" 12-15

         The Defendants seem intent on arguing that this constitutes obstruction of an

   official proceeding and a conspiracy to defraud the United States, both criminal acts

   which if proved would prevent President Trump from running for re-election in

   2014, the real purpose of the Defendants. But what if the President was convinced

   by Plaintiff's Opinion and other evidence that the vote of the Electoral College was

   unconstitutional?

         Article II, Section 3 of the Constitution requires the President to "take Care

   that the Laws be faithfully executed." This clause, known as the Take Care Clause,

   requires the President to enforce all constitutionally valid Acts of Congress,

   regardless of his own Administration's view of their wisdom or policy. Under

   Article II of the Constitution and relevant Supreme Court precedents, the President

   must follow statutory mandates so long as there is appropriated money available and

   the President has no constitutional objection to the statute. So, too, the President
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   must abide by statutory prohibitions unless the President has a constitutional

   objection to the prohibition. If the President has a constitutional objection to a

   statutory mandate or prohibition, the President may decline tofollow the law zcnless

   and until a final Court order dictates otherwise.

         If the President was convinced by the Plaintiffs Opinion that the election in

   the Electoral College was unconstitutional, his Oath demanded that he decline to

   abide by the Electoral College election and order the Vice President to refuse to

   count the voted and instead send the election of the President and Vice President to

   the House and Senate respectively. What should have happened is this. The President

   ordered the Vice President not to count the votes. The Vice President should have

   obeyed and informed the Speaker of the House that, by order of the President, the

   Electoral College election was void. The next day the Speaker of the House would

   have filed a federal law suit in the U.S. District Court for the District of Columbia.

   The District Court would have immediately found for the Speaker thereby sending

   the case to the Supreme Court for resolution. I firmly believe my Opinion would

   have garnered five votes on the Supreme Court and the President's actions would

   have been sustained.

         This did not happen because the Vice President violated the Constitution. This

  is how the Defendants described what happened in their Brief.

         Nothing in the Twelfth Amendment or the Electoral Count Act provides a
         basis for the presiding officer of the Senate to unilaterally refuse to count
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         electoral votes—for any reason. Any such effort by the presiding officer
         would violate the law. This is exactly what the Vice President's counsel
         explained at length to Plaintiff and President Trump before January 6....And
         the Vice President made this crystal clear in writing on January 6: any
         attempt by the Vice President to take the course of action the President
         insisted he take would have been illegal. (emphasis added)P. 15

         The Defendants in their Brief fail to cite where in the Constitution the Vice

   President is authorized to act as a check or veto on a President's decision under

   Article II, Sec. 3 not to enforce a law he or she considers unconstitutional. With all

   due respect to Vice President Pence, he had no such authority. As a result, the

   counting of the votes on January 6 was and is unconstitutional and therefore void.

                                     ARGUMENT I


                 Intervention Should be allowed as a Matter of Right


      1)Plaintiff-Intervenor's Motion is Timely.


      The timeliness of an application for intervention is evaluated "in the context of

   all relevant circumstances," including:(1)the point to which the suit has progressed;

 (2)the purpose for which intervention is sought;(3)the length oftime preceding the

  application during which the proposed intervenors knew or should have known of

  their interest in the case;(4)the prejudice to the original parties due to the proposed

  intervenors' failure to promptly intervene after they knew or reasonably should have

  known of their interest in the case; and (5)the existence of unusual circumstances
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 militating against or in favor of intervention. Jansen v. City ofCincinnati, 904 F.2d

 336, 340(6th Cir. 1990); see United States v. City ofDetr~oit, 712 F.3d 925, 930-31

(6th Cir. 2013)(same). Here,the case is still at the earliest stage. The parties will not

 be prejudiced by the intervention.


    2
    )The Plaintiff-Intervenor Has a Substantial Legal Interest in the Subject
      Matter ofThis Case.

        Courts of Appeals around the country have subscribed to a "rather expansive

    notion ofthe interest sufficient to invoke intervention ofright." Grutter, 188 F.3d

    at 398 (citation omitted); see also Bradley v. Milliken, 828 F.2d 1186, 1192

   (6thCir. 1987)("[I]nterest' is to be construed liberally."). No specific legal or

    equitable interest is required,see Grutter, 188 F.3d at 398,and even "close cases"

    should be "resolved in favor of recognizing an interest under Rule 24(a)," Mich.

   State AFL-CIO v. Miller, 103 F.3d 1240, 1247(6th Cir. 1997).

       The interest of the Intervening Plaintiff could not be »lore substantial. The


Corruption of the Election in the Electoral College completely dilutes his right to

vote. The creation ofcongressional districts in violation ofthe One Person, One Vote

mandate discriminates against suburban and rural votes and directly benefits urban

voters. As a suburban voter in 2020 and a rural voter today, this unconstitutional




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districting has diluted the Plaintiff's right to vote in 2020. The corruption of the

election in the Electoral College adds to this dilution.


   3
   )Intervention in this Case is Necessary to Protect the Plaintiff— Intervenor's

      Interest


      Under the third intervention prong, "a would-be intervenor must show only

   that impairment of its substantial legal interest is possible if intervention is

   denied." Miller, 103 F.3d at 1247."This burden is minimal," and can be satisfied

   if a determination in the action may result in "potential stare decisis effects." Id.;

   see also Citizensfor Balanced Use v. Mont. Wilderness Assn,647 F.3d 893, 900

  (9th Cir. 2011)("[I]ntervention ofright does not require an absolute certainty that

   a party's interest will be impaired").

      The issues raised in the Defendants' Brieffurther damages the Plaintiff's right

   to vote. Clearly, this case is now being used to prevent President Trump from

   running for president in 2024. In 2016 the Plaintiff was the Trump Campaign

   Coordinator in the Town of Wolfeboro, N.H. where he then resided. He has been

   and remains a Trump supporter and hopes to vote for him again in 2024. Since

   the tiling of the Defendants' Brief, this action is a direct threat to the ability of

  President Trump to run again in 2024 and is therefore a direct threat to the

  Plaintiff's right to vote for the candidate of his choice in 2024.

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       4)The Existing Parties Cannot Protect the Interest ofthe PlaintiffIntervenor.

       The Plaintiff -Intervenor carries a minimal burden to show that the existing

   parties to this litigation inadequately represent the United States' interests.

   Jordan v. Mich. Conference of Teamsters Welfare Fund, 207 F.3d 854, 863 (6th

   Cir. 2000). A potential intervenor "need not prove that the [existing parties']

   representation will in fact be inadequate, but only that it `may be' inadequate."

   Id.(citations omitted)(emphasis added); see also Davis v. Lifetime Capital, Inc.,

   560 F. App'x 477,495(6th Cir. 2014)("The proposed intervenor need show only

   that there is a potential for inadequate representation.") (citation omitted)

  (emphasis in original). The Plaintiff —Intervenor satisfies this burden.

      The Plaintiff wrote the Opinion that President relied upon when he directed

   Vice President Pence not to count the votes in the Electoral College. The Plaintiff

   totally stands by that Opinion. No one can defend that Opinion or President

   Trump as well as the Plaintiff. I stand ready to prove the Opinion was and is

   absolutely correct and that the actions of President Trump were not only

   warranted but required by the Constitution. No one else can possibly fill in for

   the Plaintiff in this litigation.

      For the foregoing reasons, the Plaintiff-Intervenor respectfully requests that

   the Court grant the Plaintiff — Intervenor's Motion to Intervene.



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                                 CONCLUSION

      The Plaintiff is well aware of this Court's decision in Barnett v. Obama,

Docket # SAVC 09-0082(2009). That case has no application here. The Plaintiff is

not attempting to remove President Biden. He is attempting to prove that because

the election in the Electoral College was unconstitutional, Vice President Biden

never became President.

      I believe given the intent expressed in the Defendants' Brief, my arguments

belong here. If the Court disagrees, the Plaintiff will be pleased to flee the Ninth

Circus and file an original action in Texas where he now resides.

                                             The Intervening Plaintiff


                                                      ~
                                                      ~%`

                                             Robert A. Heghmann


                                             P.O. Box 2108
                                             Leander, TX 78646
                                             Bob He~hnlann c ,Reaga~l.coin
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                       CERTIFICATE OF CONFERENCE


        I certify that, on or about March 9, 2022, I served via e-mail counsel for the

Defendants and counsel for the Plaintiffs this Motion and asked them to respond

stating whether the supported or opposed this Motion. Counsel for the Plaintiff took

no position on the Motion to Intervene. Counsel for the Defendants did not respond.




                          CERTIFICATE OF SERVICE


       I certify that, on March 19, 2022, I mailed a copy ofthis Motion to the Court

and caused service of this this Motion through the CM/ECF upon the Defendants,

Plaintiffs and Interested Parties.




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                                Robert A. Heghmann
                                    P.O. Box 6342
                             Virginia Beach, VA 23456
                           Bob He~hmann~Rea~an.coi~1
                                  (603)866-3089


November 30, 2020


Jay Sekulow, Esq.                                     By Hand
American Center for Law and Justice
1000 Regent University Drive
Virginia Beach, VA 23464


             Re: President Donald J. Trump's path to a Second Term.


Dear Attorney Sekulow,
      I realize this proposal is coining out of left field but I implore you for the sake

of the Nation to read this letter and the attached Memo and Exhibits with an open

mind. The research that led to this submission was driven by one simple truth,

namely, that John Dickenson, Delegate from Delaware at the Federal Convention of

1787 and intellectual leader of the Small States, would not have accepted an

Electoral College unless there was a check elsewhere in the Constitution to protect

the Small States from corruption of the Electoral College election. My task was to



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find that check and I believe I have. If so, this is how President Trump has a path the

re-election this year. .


      "Each State shall appoint, in such Manner as the Legislature thereof may

direct, a Number of Electors, equal to the whole Number of Senators and

Representatives to which the State may be entitled in the Congress." (emphasis

added). Article II, Sec. 1 of the U.S. Constitution. This requirement was unchanged

by the 12th Amendment. If States appointed a Number of Electors in excess of the

whole number of Representatives to which the States may be entitled, the Electoral

College is in violation of the Constitution and any election of the Electoral College

is void in which case the election of the President goes to the House of

Representatives under the 12t" Amendment.


      U.S. District Court Judge Arenda L. Wright Allen, a Barack Obama appointee

to the U.S. District Court for the Eastern District of Virginia, by acting as an agent

ofthe Democratic National Committee instead ofa U.S. District Court Judge,caused

Virginia and 6 to 8 other large "Blue" states, to have more Electors in the Electoral

College than. they were entitled to in the Congress. Therefore, Vice President Pence

sitting as President of the Senate is mandated by his oath to Defend and Protect the

Constitution to reject the vote of the Electoral College and inform the House of

Representatives that the House must elect the winner of the 2020 presidential

election.

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      In the election of 2020, the election of the House of Representatives was in

violation ofthe One Person., One Vote Mandate.I base this position on a 2004, Three

Judge Panel decision in Ho~^sey v. Bysiewicz, 3:99-cv-2250(D. Conn. 1999). a copy

of which is attached. The Panel in Horsey decided that if the delta between the

number of foreign-born, non-citizens in the congressional district with the most

foreign-born, non-citizens and the congressional district with the least number

exceeds 1.0%, the congressional districts had to be re-appot-tioned. While in 2004 in

Connecticut that delta was 6%,since then due to immigration. both legal and illegal,

many congressional districts in 8 to 10 Blue States violate what I call the Horsey

Rule, including my home state of Virginia.


      To test the Horsey Rule in Virginia, on February 28,2020 I filed a complaint,

Heghmann v. Trump, in the Eastern District of Virginia, Dkt. #2:20-cv-159. A copy

of the Complaint is attached hereto. The case was based upon Horsey and the

historical record which I used to convince the Three-Judge Panel who decided the

Horsey case. Attached is a Legal Memo which I filed in the case supporting my

motion. for Declaratory Judgment. As relief, I asked that the congressional districts

in Virginia and other states be declared unconstitutional under the One Man, One

Person Mandate and be ordered to re-apportion prior to the 2020 elections. The

Complaint requested a Three Judge Panel as required by federal law.




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         The Virginia case was assigned to District Court Judge Wright Allen, a True-

Blue Obama appointee to the federal bench. She recognized the significance of the

case and in order to protect the Democratic Party, she refused to request a Three-

judge Panel which effectively froze the case in place. Without aThree-Judge Panel,

no judgment would be legitimate and there could be no appeal to either the Supreme

Court or the Fourth Circuit Court of Appeals. See Igartua v. Obama,842 F.3d 149,

152(1st Cir. 2016), cent. denied sub. nom. Igartua v. Obama, 138 S. Ct. 2649(2018).

My only recourse was to file a Petition for a Writ of Mandamus to the Supreme

Court which I have done. See Heghmann v, Trump, U.S. Supreme Court Dkt. # 20-

626. That Petition is now pending. In the interim, the Virginia case is dead in the

water.


                 The Horsey Impact on this year's Electoral College Election

      In State ofNew York v. Trump, 1:20-cv-05770 (S.D.N.Y. 2020), the case in

which the Blue States lead by New York successfully challenged President Trump's

Memorandum on Excluding Illegal Aliens from the Apportionment Base following

the 2020 Census,the Blue States admitted the impact unrestricted inclusion ofIllegal

Aliens in the apportionment base had upon the number of congressional districts the

Blue States received.


      1 13. Defendants' decision and actions to exclude undocumented immigrants
from the apportionment base harm Plaintiffs' sovereign, quasi-sovereign, economic,

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and proprietary interests because they will cause some Plaintiffs to lose
congressional seats and decrease their share of presidential electors in the Electoral
College; skew the division of electoral districts within Plaintiffs' jurisdictions by
impairing state and local redistricting efforts that rely on the census count; reduce
federal funds to Plaintiffs' jurisdictions by deterring immigrants from responding to
the decennial census that is currently underway; and degrade the quality of census
data that Plaintiffs rely on to perform critical governmental functions.

        1 14. First, excluding undocumented. immigrants from the apportionment
count will likely cause several States to lose one or more Representatives in
Congress, directly harming those Plaintiff States, as well as those Plaintiff counties
and cities within affected States, by diluting their political power and undermining
their interest in fair congressional representation.

       1 15. For example, large numbers of undocumented immigrants reside in
California, Texas, New York, New Jersey, and Illinois.15 Defendants' decision to
exclude undocumented immigrants from the apportionment count is likely to directly
reduce representation for those jurisdictions in Congress, injuring the
representational interests of Plaintiffs the State of New York, State of New Jersey,
State of Illinois, City of Chicago, City of New York, City and County of San
Francisco, Cameron County, El Paso County, Hidalgo County, and Monterey
County. Other Plaintiffs may also suffer direct representational harms if
undocumented individuals are excluded from the apportionment count. Complaint,
New York v. Trump, supra. Dkt. 1

       While not as great an impact as excluding illegal aliens completely.

compliance with the Horsey Rule would have a significant impact upon the number

of congressional districts in the Blue States. The reason for this is that in order to

meet the Horsey Rule, urban congressional districts would have to be expanded

geographically into suburban and perhaps rural areas in order to reduce the

percentage of foreign-born, non-citizens. With geographical expansion of urban

districts, the Blue States would not be able to create as many congressional districts

within state borders as currently exist. This is especially true if we argue the districts
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must be compact and contiguous to meet the Freedom of Association requirements.

The reduction of state congressional districts would be reflected in the reduction of

Electors in the Electoral College.


      That is why an argument could validly be made that the Electoral College as

currently comprised violates the Constitution as the Blue States would have more

Electors than they are entitled to. The President should be able to utilize the resources

of the Census Bureau to prove this. I believe approximately 8-10 Blue States have

Electors that they are not entitled to under Art. II, Sec. 1. This federal challenge was

filed sufficiently in advance of the November elections to allow for re-

apportionment prior to the 2020 elections. Judge Wright Allen refused to allow the

challenge to go forward. As a result, the election of Members of Congress in 2020

violated the One Person, One Vote Mandate. More importantly, since the Electoral

College mirrors the House of Representatives, the election of the President in the

Electoral College would violate the One Person., One Vote Mandate and would

therefore be void.


      The pleadings in the New York v. Trump Complaint could be extremely

pivotal should the President ofthe Senate choose to void the Electoral College

results. Judicial Estopple could block any federal court challenge to Vice President

Pence's decision.
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             The doctrine ofjudicial estoppel precludes a party from taking
      inconsistent positions in separate judicial proceedings. It is invoked to
      prevent a party from changing its position over the course
      ofjudicial proceedings when such positional changes have an adverse impact
      on the judicial process. The policies underlying preclusion of inconsistent
      positions are general considerations of the orderly administration of justice
      and regard for the dignity ofjudicial proceedings. Judicial estoppel is
      intended to protect against a litigant playing fast and loose with the courts. It
      seems patently wrong to allow a person to abuse the judicial process by first
      advocating one position, and later, if it becomes beneficial, to assert the
      opposite. The Swain Group, Inc. v. Segal, 183 Cal. App.
      4th 831, 832(2010)

      Having taken the position that the loss of unrestricted inclusion of illegal

aliens in the apportionment base would significantly reduce the number of

congressional districts and Electors in the Electoral College, the argument could be

made that the Blue States are now bared from asserting that a "restriction" on the

inclusion of illegal aliens in the apportionment base would reduce the number of

congressional districts and therefore the number ofElectors in the Electoral College.

                                    Now or Never


      Knowing as much as I do about the Federal Convention of 1787, the distrust

of the Small States for the Big Three and John Dickenson of Delaware, the

intellectual leader ofthe Small States,I cannot accept the proposition that Dickenson

did not anticipate the possible corruption in the Electoral College and install a check

on that corruption in the election of a President. Attached is a Memo representing

what I believe is the check Dickenson insisted on to prevent the corrupt election of
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a President and how it came into existence. It is grounded squarely on the Records

ofthe Federal Convention of 1787(which I have read twice) and correspondence of

the Delegates in Vol. 4 of Farrand's work.

      Vice President Pence sitting as President of the Senate must reject the results

ofthe Electoral College election as unconstitutional and send a message to the House

that the winner of the Presidential election be decided in the House of

Representatives in a vote of the 50 States. If Vice President Pence does not rely on

this check, declare the election by the Electoral College void,the critically important

check insisted upon by John Dickenson will be waived and lost forever.


      If nothing else, this action will halt the Electoral College election and

announcement of the winner by the House. That will prevent the Defendant States

in the various pending law suits from running out the clock on December 18th which

they are undoubtedly planning. This action is bold, unanticipated and has a high

potential for success in the Supreme Court. I urge you to present this argument to

your client, President Trump. I live in Virginia Beach and would welcome an

opportunity to defend my thesis in person.


                                                     Respectfully,




                                                     Robert A. Heghmann
